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     1 TIMOTHY S. LEIMAN, Ill. Bar No. 6270153
       leimant@sec.gov
     2 DANIEL J. HAYES, Ill. Bar No. 6243089
       hayesdj@sec.gov
     3 PETER SENECHALLE, Ill. Bar No. 6300822
       senechallep@sec.gov
     4
       Attorneys for Plaintiff
     5 United States Securities and Exchange Commission
       175 West Jackson Boulevard, Suite 1450
     6 Chicago, Illinois 60604
       Telephone: (312) 353-7390
     7 Facsimile: (312) 353-7398
     8
       SCHEPER KIM & HARRIS LLP
     9 MARC S. HARRIS (State Bar No. 136647)
       mharris@scheperkim.com
    10 MARGARET E. DAYTON (State Bar No. 274353)
       pdayton@scheperkim.com
    11 601 West Fifth Street, 12th Floor
       Los Angeles, California 90071-2025
    12 Telephone: (213) 613-4655
       Facsimile: (213) 613-4656
    13
       Attorneys for Defendant Wayne
    14 Weaver
    15
                            UNITED STATES DISTRICT COURT
    16
                          CENTRAL DISTRICT OF CALIFORNIA
    17
    18
       SECURITIES AND EXCHANGE              CASE NO. 2:15-cv-08921 SVW (MRWx)
    19 COMMISSION,
                                            Hon. Stephen V. Wilson
    20             Plaintiff,
                                            JOINT TRIAL EXHIBIT LIST OF
    21        v.                            PLAINTIFF SECURITIES AND
                                            EXCHANGE COMMISSION AND
    22 JAMMIN’ JAVA CORP., dba              DEFENDANT WAYNE WEAVER
       MARLEY COFFEE, SHANE G.
    23 WHITTLE, WAYNE S. P.                 Pre-Trial Conf. Date:        June 26, 2017
       WEAVER, MICHAEL K. SUN,              Time:                        3:00 p.m.
    24 RENE BERLINGER, STEPHEN B.
       WHEATLEY, KEVIN P. MILLER,           Trial Date:           July 11, 2017
    25 MOHAMMED A. AL-BARWANI,
       ALEXANDER J. HUNTER, and
    26 THOMAS E. HUNTER,
    27             Defendants.
    28

                                               1               Case No. 2:15-cv-08921 SVW (MRWx)
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     1           Pursuant to Local Rules 16-6.1 and Federal Rule of Civil Procedure
     2 26(a)(3)(A)(iii), 16-2.7 and 32-1, Defendant Wayne Weaver and Plaintiff Securities
     3 and Exchange Commission hereby submit the following list of documents and other
     4 exhibits they expect to offer at trial. By submitting this index, neither party admits
     5 that the documents and exhibits listed by the other party are admissible at trial.
     6 Pursuant to Local Rule 16-6.3 the parties’ objections, if any, to the documents and
     7 exhibits listed will be set forth in the Final Pretrial Conference Order.
     8
     9 Case Title: Securities and Exchange Commission v. Jammin’ Java Corp., et al.
    10 Case No.: 2:15-CV-08921-SVW-MRW
    11
    12                         PLAINTIFF’S EXHIBITS
    13   No. of                                                       Date       Date
         Exhibit       Description                                    Identified Admitted
    14
           1           Articles of Assn. of Petersham Enterprises
    15
                       Limited (Sept. 24, 2009)
    16
             2         Email from Weaver to Wheatley (Apr. 23,
    17
                       2010)
    18
                       Email from Golding to Wheatley (Sept.
    19       3
                       15, 2010)
    20
                       Email from Weaver to Wheatley re 3rd
    21       5
                       Party JAMN (Dec. 29, 2010)
    22
                       Fax from Wheatley to Weaver (Nov. 6,
    23       6
                       2010)
    24
                       B&C Capital, Inc., Petersham "A" Acct.
    25       7
                       Statement (Dec. 31, 2010)
    26
                       Email from Golding to Wheatley (Dec. 22,
    27       8
                       2010) (Wheatley 0059)
    28

                                                    2               Case No. 2:15-cv-08921 SVW (MRWx)
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     1                     PLAINTIFF’S EXHIBITS
     2   No. of                                                   Date       Date
         Exhibit   Description                                    Identified Admitted
     3
                   B&C Capital, Inc., Petersham "B" Acct.
     4
            9      Statement (Mar. 23, 2011) (Wheatley
     5
                   0085)
     6
                   Email from Wheatley to Weaver re Jamn
     7      10
                   (Mar. 3, 2011) (Wheatley 0080)
     8
            11     Email from Wheatley to Weaver with
     9
                   attached Petersham "B" statement (Mar.
    10
                   23, 2011) (Wheatley 0083)
    11
            12     B&C Capital, Inc., Total Portfolio Asset
    12
                   Summary for Petersham Enterprises Ltd B
    13
                   as of Jul. 31, 2011 (CIMA-0000181)
    14
                   Letter from Wheatley to Weaver (Apr. 19,
    15      13
                   2011) (Wheatley 0507)
    16
                   Petersham/Albion Loan Agreement (Jul.
    17      14
                   21, 2011) (Wheatley 0140)
    18
                   Email from Wheatley to Weaver fw:
    19
            15     Petersham (Aug. 25, 2011) (Wheatley
    20
                   0167)
    21
                   Email from Wheatley to Golding (Sept.
    22      17
                   15, 2011) (Wheatley 0190)
    23
                   Wheatley Notes from Meeting with
    24      18
                   Weaver (Wheatley 0156)
    25
                   Email from Wheatley to Fidler Fw: Hi
    26      19
                   (Sept. 20, 2011) (Wheatley 0667)
    27
    28
                                                                Case No. 2:15-cv-08921 SVW (MRWx)
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     1                     PLAINTIFF’S EXHIBITS
     2   No. of                                                    Date       Date
         Exhibit   Description                                     Identified Admitted
     3
                   Wheatley SEC Cooperation Agreement
     4      20
                   (Sept. 4, 2014)
     5
            25     Email from Weaver to Sun (Sept. 12,
     6
                   2010) (SEC-Wheatley-E-0000413)
     7
                   Email from weaver to Sun re BVI
     8
            26     registered Agent (Sept. 6, 2010)
     9
                   (Wheatley 0501)
    10
            27     Email from Weaver to Sun re O/s stuff
    11
                   (Oct. 6, 2010) (SEC-Wheatley-S-E
    12
                   0000001)
    13
                   Email from Sun to Wheatley re
    14
            29     Petersham-WW (Mar. 25, 2010)
    15
                   (SUN_PROD_00000463)
    16
                   Email from Wheatley to Thurlow Fw:
    17
            31     Eurohelvetia (Sept. 28, 2014) (Wheatley
    18
                   0297)
    19
            32     CBH Compagnie Bancaire Helvetique,
    20
                   Declaration of identity of beneficial owner
    21
                   of Torino (FINMA-P-0000836-838)
    22
                   KYC form for Westpark Ltd. - Michael
    23
            33     Sun (Aug. 30, 2010)
    24
                   (SUN_PROD_0000051)
    25
            34     Email from Weaver to Sun Fwd: CV-
    26
                   Resume (Sept. 29, 2010) (SEC-
    27
                   WheatleyS-E 0000126, 0000191)
    28
                                                                 Case No. 2:15-cv-08921 SVW (MRWx)
                                     JOINT TRIAL EXHIBIT LIST
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     1                    PLAINTIFF’S EXHIBITS
     2   No. of                                                   Date       Date
         Exhibit   Description                                    Identified Admitted
     3
           35      Email from Weaver to Sun re: Daniel
     4
                   (Oct. 13, 2010) (SEC-WheatleyS-E-
     5
                   0000437)
     6
            36     Email from Weaver to Sun re Switzerland
     7
                   trip (Sept. 29, 2010) (SEC-WheatleyS-E
     8
                   0000127)
     9
                   Email from Sun to U. Meier (Nov. 4,
    10      37
                   2010) (SUN_PROD_00000236)
    11
            38     Email from Weaver to Y. Raggl and M.
    12
                   Sun (Mar. 2, 2011) (SEC-WheatleyS-E-
    13
                   0000070, 0000229-231)
    14
            39     Share Purchase Agreement between
    15
                   Donnolis Invest Corp. and Westpark
    16
                   Limited (Mar. 2, 2011)
    17
                   (SUN_PROD_0000138)
    18
                   Email from Sun to Weaver (Jan. 21, 2011)
    19      40
                   (SUN_PROD_00000237)
    20
                   Email from Weaver to Sun (Jan. 23, 2012)
    21      43
                   (SUN_PROD_00000770)
    22
                   Email from Lacher to Gallus (Sept. 22,
    23      45
                   2011) (SUN_PROD_00000020)
    24
                   Email from Weaver to Sun RE:
    25
            47     Conversion (Nov. 24, 2011)
    26
                   (SUN_PROD_0000625)
    27
    28
                                                                Case No. 2:15-cv-08921 SVW (MRWx)
                                     JOINT TRIAL EXHIBIT LIST
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     1                     PLAINTIFF’S EXHIBITS
     2   No. of                                                   Date       Date
         Exhibit   Description                                    Identified Admitted
     3
                   Barclay's Bank, Account Statement for
     4
            49     Blue Leaf Capital (Feb. 1, 2011) (SEC-
     5
                   FCA-E-00003200
     6
                   Email from Weaver to Sun re Loan, with
     7
            50     attachment (Mar. 12, 2012)
     8
                   (SUN_PROD_0000611)
     9
                   Email from Weaver to Berlinger (Jan. 21,
    10      51
                   2011) (BER00001014)
    11
                   Letter from M. Sun to D. Lacher (Oct. 11,
    12      52
                   2010) (SUN_PROD_00000068)
    13
            53     Email from Weaver to Sun re Swiss Trip
    14
                   (Sept. 30, 2011) (SEC-WheatleyS-E-
    15
                   0000132)
    16
            54     Email from Weaver to Y. Raggl and M.
    17
                   Sun (Mar. 1, 2011) (SEC-WheatleyS-E-
    18
                   0000440)
    19
                   Email from Sun to Wheatley (Mar. 25,
    20      55
                   2010) (SUN_PROD_00000472)
    21
                   Email from Sun to Sun Fwd Forms (Mar.
    22      56
                   24, 2010) (SUN_PROD_00000461)
    23
                   Resume of M. Al-Barwani (Oct. 4, 2010)
    24      59
                   (AL-)
    25
            60     Email from Al-Barwani to Sun re Draft
    26
                   Form (Sept. 15, 2010) (AL-
    27
                   BARWANI_00000550)
    28
                                                                Case No. 2:15-cv-08921 SVW (MRWx)
                                     JOINT TRIAL EXHIBIT LIST
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     1                    PLAINTIFF’S EXHIBITS
     2   No. of                                                   Date       Date
         Exhibit   Description                                    Identified Admitted
     3
           61      Email from Sun to Weaver Fwd: Offshore
     4
                   company and bank accounts
     5
                   documentation (Sept. 20, 2010)
     6
                   (SUN_PROD_00000502)
     7
            62     Email from Sun to Al-Barwani Fwd: 2
     8
                   new co's (Sept. 15, 2010) (AL-
     9
                   BARWANI_00000586)
    10
            63     Email from Al-Barwani to Sun (Dec. 17,
    11
                   2011) (AL-BARWANI_00000662)
    12
            64     Email from Al-Barwani to Lacher re AW:
    13
                   Renavial a/c (Dec. 21, 2011) (AL-
    14
                   BARWANI_00000268)
    15
                   Email from Al-Barwani to Weaver re AW:
    16
            65     Renavial a/c (Dec. 21, 2011) (Al-
    17
                   BARWANI_00000566)
    18
            66     Email from M. Al_Barwani to Himself
    19
                   (Mar. 2, 2012) (AL-
    20
                   BARWANI_00000559)
    21
            67     Email from Weaver to Al-Barwani re new
    22
                   Dubai Co (May 22, 2012) (AL-
    23
                   BARWANI_00000632)
    24
            68     Fiduciary Agreement Between Al-
    25
                   Barwani and Altun (Apr. 5, 2012) (AL-
    26
                   BARWANI_00000727)
    27
    28
                                                                Case No. 2:15-cv-08921 SVW (MRWx)
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     1                     PLAINTIFF’S EXHIBITS
     2   No. of                                                   Date       Date
         Exhibit   Description                                    Identified Admitted
     3
           70      Email from Lacher to Gallus re
     4
                   Remittance request (Nov. 17, 2011) (AL-
     5
                   BARWANI_00000515)
     6
            71     Email from Al-Barwani to Sun FW
     7
                   Remittance request (Nov. 17, 2011) (AL-
     8
                   BARWANI_00000647)
     9
            73     Email from Al-Barwani to Sun re VP
    10
                   Bank ACCOUNT (Nov. 24, 2011) (AL-
    11
                   BARWANI_00000656)
    12
            74     Email from Weaver to Al-Barwani re
    13
                   ACM Services GmbH (Nov. 19, 2012)
    14
                   (AL-BARWANI_00000643)
    15
            75     Al-Barwani Passport (BER00001400)
    16
          78A -    Las Colinas Ltd., Incorporation and
    17
           78C     Account Opening Documents
    18
          79A -    VP Bank, Account Statements for Las
    19
           790     Colinas Ltd. (Jan. 1, 2011 - Feb. 3, 2015)
    20
          80A -    VP Bank, Asset Statements for Las
    21
           80G     Colinas Ltd. (Dec. 31, 2010 - Dec. 31,
    22
                   2012)
    23
          81A –    VP Bank, Transaction Confirmation Slips
    24
           81L     for Las Colinas Ltd. (Dec. 23, 2010 - Mar.
    25
                   16, 2012)
    26
    27
    28
                                                                Case No. 2:15-cv-08921 SVW (MRWx)
                                     JOINT TRIAL EXHIBIT LIST
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     1                     PLAINTIFF’S EXHIBITS
     2   No. of                                                    Date       Date
         Exhibit   Description                                     Identified Admitted
     3
          82A -    Las Colinas Ltd., Fax Cover Sheets with
     4
           820     Transaction Instructions (Mar. 25, 2011 -
     5
                   Jan. 3, 2013)
     6
          83A -    Chilli Capital Ltd., Incorporation and
     7
           83D     account opening documents
     8
          84A -    VP Bank, Account Statements for Chilli
     9
           84L     Capital Ltd. (Jul. 1, 2011 - Dec. 3, 2013)
    10
          85A -    VP Bank, Transaction Confirmation Slips
    11
           85C     for Chilli Capital Ltd. (May 17, 2011 -
    12
                   Nov. 28, 2013)
    13
          86A -    Chilli Capital Ltd., Fax Covers with
    14
           86B     Transaction Instructions (May 17, 2011 -
    15
                   Nov. 28, 2013) (BER00002429)
    16
          87A -    Westpark Limited, Incorporation and
    17
           87B     Account Opening Documents
    18
          88A –    VP Bank, Account Statements for
    19
           88J     Westpark Ltd. (Apr. 1, 2011 - Jun. 2,
    20
                   2014)
    21
          89A -    VP Bank, Asset Statements for Westpark
    22
           89N     Ltd. (Dec. 31, 2010 - Sept. 3, 2013)
    23
          90A -    VP Bank, Transaction Confirmation Slips
    24
           90K     for Westpark Ltd. (Mar. 4, 2011 - Jun. 2,
    25
                   2014)
    26
    27
    28
                                                                 Case No. 2:15-cv-08921 SVW (MRWx)
                                      JOINT TRIAL EXHIBIT LIST
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   1                     PLAINTIFF’S EXHIBITS
   2   No. of                                                    Date       Date
       Exhibit   Description                                     Identified Admitted
   3
        91A -    Westpark Ltd., Fax Cover Sheets with
   4
        91K      Transaction Instructions (May 30, 2011 -
   5
                 May 13, 2014)
   6
        92A -    Renavial Ltd., Incorporation and Account
   7
        92D      Opening Documents
   8
        93A -    VP Bank, Account Statements for
   9
        93S      Renavial Ltd. (Jan. 1, 2011 - Sept. 29,
 10
                 2012)
 11
        94A -    VP Bank, Transaction Confirmation Slips
 12
        94BB     (Jan. 14, 2011 - Mar. 21, 2012)
 13
        95A -    Renavial Ltd., Fax Cover Sheets with
 14
        95N      Transaction Instructions (Jan. 14, 2011 -
 15
                 May 24, 2012)
 16
        96A -    VP Bank, Asset Statements for Renavial
 17
        96P      Ltd. (Dec. 31, 2010 - Dec. 31, 2012)
 18
                 Calgon Invest SA, Incorporation and
 19
         97      Account Opening Documents (CIMA-
 20
                 0000055)
 21
                 B&C Capital, Account Statements for
 22      98
                 Calgon Invest SA (CIMA-0000184)
 23
        99A -    Straight Path Capital Ltd., Incorporation
 24
        99C      Documents, Jammin' Java Share
 25
                 Certificates, and Volante Billing
 26
                 Statements
 27
 28
                                                               Case No. 2:15-cv-08921 SVW (MRWx)
                                    JOINT TRIAL EXHIBIT LIST
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
        100      Diagram depicting structure of
   4
                 relationship between Volante, VP Bank,
   5
                 and client companies (BER00002186)
   6
                 Email from Berlinger to Weaver with
   7
        102      attached letter (Mar. 21, 2011)
   8
                 (BER00000281)
   9
        103      Share Purchase Agreement between
 10
                 Tyrone Investments and Las Colinas
 11
                 Limited (Mar. 15, 2011), See also
 12
                 BER00002332 (FINMA-0000280)
 13
        104      Share Purchase Agreement between
 14
                 Donnolis Invest Corp. and Westpark
 15
                 Limited (Mar. 2, 2011) (see also FINMA-
 16
                 0000065) (BER00000656)
 17
                 Email from Berlinger to Weaver, with
 18
        105      attachment (May 20, 2011)
 19
                 (BER00000289)
 20
                 Certificate of Incumbency for Straight
 21
        106      Path Capital Ltd. (May 25, 2011)
 22
                 (BER00002300)
 23
        107      Share Issuance Agreement between
 24
                 Jammin' Java Corp. and Straight Path
 25
                 Capital (Dec. 22, 2011) (JJC001094)
 26
                 Email from Berlinger to Weaver (Jul. 4,
 27     108
                 2011) (BER00000297)
 28
                                                              Case No. 2:15-cv-08921 SVW (MRWx)
                                   JOINT TRIAL EXHIBIT LIST
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
                 Jammin' Java Share Certificates for
   4    109
                 Straight Path (BER00000631)
   5
        110      VP Bank, Debit Advice for Chilli Capital
   6
                 with attached email correspondence (May
   7
                 18, 2011) (BER00002435)
   8
                 Email from Weaver to Berlinger (Aug. 10,
   9    111
                 2011) (BER00001004)
 10
                 Email from Weaver to Berlinger (Jan. 7,
 11     112
                 2013) (BER00000921)
 12
        113      Fax Transmission for Las Colinas and
 13
                 attached VP Bank Debit Advice (Mar. 25,
 14
                 2011) (BER00002389)
 15
                 Email from Berlinger to Weaver AW
 16
        114      Cornercard (Aug. 16, 2011)
 17
                 (BER00000319)
 18
                 Email from J. Combray to Berlinger (Nov.
 19     115
                 26, 2015) (BER00001182)
 20
                 Email from Miller to Berlinger re: AW:
 21
        116      LAS C a/c (Mar. 16, 2012)
 22
                 (BER00000186)
 23
                 Email from Miller to Berlinger (May 7,
 24     117
                 2012) (BER00000073)
 25
                 Email from Weaver to Miller re Wording
 26     118
                 (May 1, 2012) (BER00000080)
 27
 28
                                                              Case No. 2:15-cv-08921 SVW (MRWx)
                                   JOINT TRIAL EXHIBIT LIST
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
                 Email from Miller to Berlinger re transfer
   4    119
                 (Aug. 29, 2012) (BER00000067)
   5
                 Email from Al-Barwani to Lacher re: AW:
   6
        120      Renavial a/c (Dec. 21, 2011)
   7
                 (BER00003092)
   8
                 Email from Altun to Berlinger re Dubai
   9
        121      Agreement (Apr. 5, 2012)
 10
                 (BER00000963)
 11
                 Email from Altun to Berlinger re Dubai
 12     122
                 (Apr. 6, 2012) (BER00001144)
 13
        123      Email from Al-Barwani to Berlinger re:
 14
                 new Dubai Co, with attachment (May 2,
 15
                 2012) (BER00000070)
 16
                 Renavial Ltd., VP Bank Account
 17
        124      Statement - JAMN (May 31, 2012)
 18
                 (BER00002542)
 19
                 Email from Weaver to Berlinger FW
 20     125
                 FINMA (Jan. 21, 2011) (BER00001014)
 21
                 Email from Weaver to Caputo, et al. re
 22
        126      Newest round (Dec. 27, 2012)
 23
                 (BER00000063)
 24
                 Email from Weaver to Berlinger Re proof
 25
        127      of residence (Mar. 12, 2014)
 26
                 (BER00000018)
 27
 28
                                                              Case No. 2:15-cv-08921 SVW (MRWx)
                                   JOINT TRIAL EXHIBIT LIST
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
        128      Email from Lacher to Gallus re Wire, with
   4
                 attached Fax Transmission (Sept. 22,
   5
                 2011) (BER00002647)
   6
                 Volante billing records for Renavial (SEC-
   7    129
                 FINMA-P-0000263)
   8
                 Volante billing records for Westpark
   9    130
                 (SEC-FINMA-P-0000446)
 10
                 Volante billing records for Las Colinas
 11     131
                 (SEC-FINMA-P-0000612)
 12
                 Fax transmission for Las Colinas and
 13
        132      attached email (Mar. 25, 2011)
 14
                 (BER00002389)
 15
                 Email from Weaver to Berlinger (Aug. 23,
 16     133
                 2010) (BER00000124)
 17
                 Email from Weaver to Berlinger (Aug. 30,
 18     134
                 2011) (BER00000121)
 19
        135      Agreement Concerning Business
 20
                 Relationship Between VP Bank and
 21
                 Monolosa Real Estate Inc. (FINMA-
 22
                 0000007)
 23
        136      Al-Barwani Dep. (Jan. 27, 2017)
 24
                 Arciss Beneficial Ownership Form
 25
        137      (Declaration of the Identity) (FINMA-P-
 26
                 0000737)
 27
 28
                                                              Case No. 2:15-cv-08921 SVW (MRWx)
                                   JOINT TRIAL EXHIBIT LIST
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
        138      Arciss Corporate Formation Documents
   4
                 (FINMA-0000619-621, 0000627-628)
   5
        139      Attestation of Barbara Volpe, U.S.
   6
                 Securities and Exchange Commission
   7
                 (Apr. 6, 2015)
   8
        140      B&C Capital, Inc., Request for Subsidiary
   9
                 Account for Petersham Enterprises Ltd.
 10
                 "B" Account (Jan. 16, 2011) (CIMA-
 11
                 0000051)
 12
                 Bank Gutenberg AG, Sale Security
 13
        141      Receipts for Manitou, SA (FINMA-
 14
                 0000544)
 15
        142      Bank Gutenberg, Decl. of Identity of the
 16
                 Beneficial Owner of Manitou S.A. (Feb.
 17
                 21, 2011) (SEC-FINMA-P-0001167)
 18
                 Bank Sarasin & Cie, Account Opening
 19
        143      Documents for El Tololo Investment Corp.
 20
                 (SEC-FINMA-P-0000005)
 21
        144      Berlinger Dep. (Feb. 7, 2017)
 22
                 CBH Compagnie Bancaire Helvetique,
 23
        145      Statement of Account for Arcis Assets SA
 24
                 (SEC-FINMA-P-0000621)
 25
 26
 27
 28
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                     Date       Date
       Exhibit   Description                                      Identified Admitted
   3
        146      Certificate of Authenticity of Business
   4
                 Records of Costanza Berghinz de Rosmini
   5
                 (Legal & Compliance Private Banking)
   6
                 and Agnes Arnold Kaufmann (Legal &
   7
                 Compliance Private Banking) of Bank
   8
                 Vontobel AG (successor to Finter Bank)
   9
                 (SEC-FINMA-P-0001430)
 10
        147      Certificate of Formation for Cilitz Invest
 11
                 and Trade S.A. (Nov. 24, 2009) (FINMA-
 12
                 0000385–386, 394, 396)
 13
                 Certificate of Incorp for El Tololo
 14
        148      Investment Corp. (Oct. 4, 2007) (SEC-
 15
                 FINMA-P-0000037)
 16
                 Certificate of Incorp. for Manitou S.A.
 17     149
                 (Feb. 17, 2011) (FINMA-0000526–542)
 18
        150      Certificate of Incorporation and Articles of
 19
                 Incorporation for Torino Invest S.R.L.
 20
                 (Jan. 22, 2010) (FINMA-0000579–581)
 21
        151      Compagnie Bancaire Helvetique, Transfer
 22
                 of Securities Withdrawal for Arcis Assets
 23
                 (Mar. 21, 2011) (SEC-FINMA-P-
 24
                 0000631)
 25
 26
 27
 28
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
        152      Compagnie Bancaire Helvetique, Transfer
   4
                 of Securities Receipt for Torino Invest
   5
                 (Mar. 21, 2011) (SEC-FINMA-P-
   6
                 0000752)
   7
        153      Finter Bank Zurich, Receipts of Securities
   8
                 for Cilitz Inv. And Trade SA (Nov. 25,
   9
                 2010) (FINMA-0000402)
 10
                 Finter Bank Zurich, Receipt of Securities
 11
        154      for Cilitz Inv. And Trade SA (Jan. 6,
 12
                 2011) (FINMA-0000403)
 13
                 VP Bank, Delivery Advice for Monolosa
 14
        155      Real Estate Inc. (Jul. 8, 2011) (FINMA-
 15
                 0000022)
 16
                 Fax cover sheet from Y. Raggl to A.
 17
        156      Walser (Finter Bank) (Nov. 16, 2010)
 18
                 (SEC-FINMA-P-0001176)
 19
        157      Compagnie Bancaire Helvetique,
 20
                 Securities Remittance for Torino Invest
 21
                 S.R.L. (Dec. 13, 2010) (SEC-FINMA-P-
 22
                 0000773)
 23
        158      Compagnie Bancaire Helvetique,
 24
                 Statement of Account for Torino Invest
 25
                 S.R.L. (Jun. 12, 2015) (SEC-FINMA-P-
 26
                 0000743)
 27
 28
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   1                     PLAINTIFF’S EXHIBITS
   2   No. of                                                    Date       Date
       Exhibit   Description                                     Identified Admitted
   3
        159      Compagnie Bancaire Helvetique, Portfolio
   4
                 Valuation as of 31.12.2010 for Torino
   5
                 Invest (SEC-FINMA-P-0000602)
   6
        160      Compagnie Bancaire Helvetique, Transfer
   7
                 of Securities Receipt for Arcis Assets S.A.
   8
                 (Mar. 8, 2011) (SEC-FINMA-P-0000629)
   9
        161      Compagnie Bancaire Helvetique, Opening
 10
                 Agreement for Legal Entities for Arcis
 11
                 Assets S.A. (Sept. 17, 2010) (FINMA-
 12
                 0000613)
 13
        162      Compagnie Bancaire Helvetique, Opening
 14
                 Agreement for Torino Invest S.R.L. (Oct.
 15
                 1, 2010) (FINMA-P-0000574)
 16
                 Declaration of Anh T. Tran (Aug. 30,
 17     163
                 2016)
 18
                 Email from A. King to A. Tran (Dec. 22,
 19
        164      2010) (Exhibit A to Declaration of A.
 20
                 Tran) (JJC002351)
 21
        165      Declaration of Brown Brothers Harriman
 22
                 & Co. Certifying Records of Regularly
 23
                 Conducted Business Activity (May 10,
 24
                 2017)
 25
 26
 27
 28
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   1                     PLAINTIFF’S EXHIBITS
   2   No. of                                                    Date       Date
       Exhibit   Description                                     Identified Admitted
   3
        166      Declaration of certifying recors of
   4
                 regularly [conducted] activity of Didier
   5
                 Plecard, Head of Legal, CBH Compagnie
   6
                 Bancaire Helvetique SA (Jan. 31, 2017)
   7
        167      Declaration of Giw Izadi, VP Bank
   8
                 (Schweiz) AG, Certifying Records of
   9
                 Regularly Conducted Business Activity
 10
                 (Nov. 30, 2016) (SEC-FINMA-P-
 11
                 0001428)
 12
        168      Declaration of Knight Execution and
 13
                 Clearing Services Certifying Records of
 14
                 Regularly Conducted Business Activity
 15
                 (May 9, 2017)
 16
        169      Declaration of M. Berchtold and M.
 17
                 Kameisis, Gutenberg Administration AG
 18
                 (formerly Bank Gutenberg AG) (Dec. 5,
 19
                 2016) (SEC-FINMA-P-0001429)
 20
        170      Declaration of Rohan Marley (Nov. 21,
 21
                 2016)
 22
        171      Declaration of Seven Points Capital
 23
                 Certifying Records of Regularly
 24
                 Conducted Business Activity (May 10,
 25
                 2017)
 26
                 Declaration of Shane Whittle (Jul. 7,
 27     172
                 2016)
 28
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   1                     PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
        173      Declaration of Sohail Ajmail, Barclays
   4
                 Bank PLC, Certifying Records of
   5
                 Regularly Conducted Business Activity
   6
                 (Dec. 16, 2016) (SEC-UKFCA-P-
   7
                 0000009)
   8
        174      Declaration of Spartan Securities
   9
                 Certifying Records of Regularly
 10
                 Conducted Business Activity (May 9,
 11
                 2017)
 12
                 Declaration of Stephen B. Wheatley (May
 13     175
                 5, 2017)
 14
                 Declaration of Wayne Weaver (Jul. 11,
 15     176
                 2016)
 16
        177      Declaration of Y. Felber, Bank Sarasin
 17
                 AG, Certifying Records of Regularly
 18
                 Conducted Business Activity (Dec. 5,
 19
                 2016) (SEC-FINMA-P-0001431)
 20
        178      Defendant Kevin Miller’s Objections and
 21
                 Response to Plaintiff Securities and
 22
                 Exchange Commission’s First Set of
 23
                 Interrogatories (Dec. 5, 2016)
 24
        179      Defendant Kevin Miller’s Response to
 25
                 Plaintiff Securities and Exchange
 26
                 Commission’s First Set of Requests for
 27
                 Admission (Sept. 15, 2016)
 28
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                    Date       Date
       Exhibit   Description                                     Identified Admitted
   3
        180      Defendant Kevin Miller's Objections and
   4
                 Repsonse to Plaintiff Securities and
   5
                 Exchange Commission's Second Set of
   6
                 Interrogatories (Jan. 11, 2017)
   7
        181      Defendant Kevin Miller's Response to
   8
                 Plaintiff Securities and Exchange
   9
                 Commission's First Set of Requests for
 10
                 Production (Jun. 23, 2016)
 11
        182      Defendant Sun's Responses and
 12
                 Objections to Plaintiff's First Set of
 13
                 Requests for Admissions (Dec. 14, 2016)
 14
        183      Defendant Sun's Revised Responses and
 15
                 Objections to Plaintiff's First Set of
 16
                 Interrogatories (Dec. 14, 2016)
 17
        184      Defendant Wayne S.P. Weaver's Answer
 18
                 to Plaintiff's Amended Complaint (Aug.
 19
                 24, 2016)
 20
        185      Defendant Wayne Weaver’s Responses to
 21
                 Plaintiff’s Revised Requests for
 22
                 Admission (Set One) (Oct. 27, 2016)
 23
        186      Defendant Wayne Weaver's Responses to
 24
                 Plaintiff's Interrogatories (Set One) (Aug.
 25
                 1, 2016)
 26
 27
 28
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   1                     PLAINTIFF’S EXHIBITS
   2   No. of                                                    Date       Date
       Exhibit   Description                                     Identified Admitted
   3
        187      Defendant Wayne Weaver's Responses to
   4
                 Plaintiff's Interrogatories (Set Two) (Jan.
   5
                 11, 2017)
   6
        188      Defendant Wayne Weaver's Responses to
   7
                 Plaintiff's Request for Production (Set
   8
                 One) (Aug. 1, 2016)
   9
        189      Defendant Shane G. Whittle's Responses
 10
                 to Plaintiff Securities and Exchange
 11
                 Commission's First Set of Interrogatories
 12
                 (Jun. 13, 2016)
 13
                 Declaration of John Alexander f/k/a
 14     190
                 Alexander Hunter (Jul. 12, 2016)
 15
                 Declaration of Thomas Hunter (Jul. 12,
 16     191
                 2016)
 17
        192      Defendant Thomas E. Hunter's Response
 18
                 to Plaintiff Securities and Exchange
 19
                 Commission's First Set of Interrogatories
 20
                 (Jun. 24, 2016)
 21
        193      Defendant Alexander J. Hunter's Response
 22
                 to Plaintiff Securities and Exchange
 23
                 Commission's First Set of Interrogatories
 24
                 (Jun. 24, 2016)
 25
                 Answer of Defendant Alexander J. Hunter
 26     194
                 (May 23, 2016) (Dkt. #82)
 27
 28
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                     Date       Date
       Exhibit   Description                                      Identified Admitted
   3
                 Tax Justice Network, Financial Secrecy
   4    195
                 Index, 2015 Final Rankings.pdf
   5
                 Cooperation Agreement Between the SEC
   6    196
                 and Rene Berlinger (Mar. 20, 2017)
   7
        197      Certified Resolutions Adopted by Board
   8
                 of Directors of Jammin Java Corp. (Jan.
   9
                 18, 2011 - May 13, 2011) (Exhibit C to
 10
                 Tran Declaration)
 11
        198      My New Stock Pick: Jammin Java Corp.,
 12
                 http://hackthestockmarket.com/the-pick/
 13
                 (May 1, 2011) (Exhibit D to Tran
 14
                 Declaration)
 15
        199      Yahoo Finance.com, This Coffee Stock
 16
                 Could Soar (May 4, 2011) (Exhibit D to
 17
                 Tran Decl)
 18
                 Letter from J.K. Moran to A. Tran (Apr.
 19
        200      13, 2011) (Exhibit E to Tran Decl.) (IRG-
 20
                 SEC-000022)
 21
        201      Email from R. Marley to S. Whittle and A.
 22
                 Tran (Apr. 21, 2011) (Exhibit F to Tran
 23
                 Decl.) (BCSC-0000837)
 24
                 Answer of Defendant Thomas E. Hunter
 25     202
                 (May 23, 2016) (Dkt. #83)
 26
        203      Consent of Shane Whittle (Dkt. # 166-1)
 27
 28
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   1                      PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
        204      Answer by Defendant Shane Whittle to the
   4
                 Amended Complaint (Sept. 8, 2016 (Dkt.
   5
                 # 141)
   6
                 Donnolis Articles of Incorporation
   7    205
                 (FINMA-0000466)
   8
                 Donnolis Beneficial Ownership Form
   9    206
                 (SEC-FINMA-P-0001423)
 10
                 Donnolis Board Meeting Minutes
 11     207
                 (FINMA-0000477)
 12
        208      Email from Al Barwani to Lacher and
 13
                 Berlinger (Dec. 21, 2011)(See also Dep.
 14
                 Exhibit 120, BER00003092) (AL-
 15
                 BARWANI_00000268; BER00003092
 16
                 Email from Decker to Golding (Feb. 10,
 17     209
                 2011) (CIMA-0000120)
 18
                 Email from Golding to Weaver re JamN
 19     210
                 (Jan. 18, 2011) (CIMA-0000117)
 20
                 Email from Golding to Wheatley (Mar. 1,
 21     211
                 2011) (CIMA-0000129)
 22
                 Email from J. Jurado to B. Gray and D.
 23
        212      Petkau (Jan. 13, 2011) (SEC-SMV-P-
 24
                 0001202)
 25
                 Email from Lacher to Berlinger re WG:
 26
        213      Bank details (Mar. 24, 2011)
 27
                 (BER00002390)
 28
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
        214      Email from P. Mokros to M. Blevins (Mar.
   4
                 28, 2011) (SEC-EMPIRESTOCK 00879)
   5
                 Email from R. Hall to A. Tran (Jun. 7,
   6    215
                 2011) (JJC001180)
   7
                 Email from Tran to Marley, Whittle, et al
   8    216
                 (Jan. 2, 2011) (SEC-LEWIS-00976)
   9
                 Email from Weaver to Berlinger (Mar. 21,
 10     217
                 2011) (BER00001053)
 11
                 Email from Weaver to Berlinger (Nov. 17,
 12     218
                 2010) (BER00000168)
 13
                 Email from Weaver to Berlinger (Nov. 24,
 14     219
                 2010) (BER00000176)
 15
                 Email from Weaver to Berlinger re
 16
        220      Jammin Java Corp (Jan. 21, 2011)
 17
                 (BER00001024)
 18
                 Email from Weaver to Caputo, Berlinger
 19     221
                 (Feb. 25, 2013) (BER00000893)
 20
                 Email from Weaver to Golding (Jan. 18,
 21     222
                 2011) (CIMA-0000117)
 22
                 Email from Weaver to Golding (Mar. 4,
 23     223
                 2011) (CIMA-0000136)
 24
                 Email from Weaver to Sun (Nov. 24,
 25     224
                 2011) (SUN_PROD_00000625)
 26
                 Email from Wheatley to Golding (Feb. 23,
 27     225
                 2011) (CIMA-0000123)
 28
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   1                     PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
        226      Empire Stock Transfer Inc., Uniform
   4
                 Form for Registration as a Transfer Agent
   5
                 (Form TA-1) (Nov. 18, 2009)
   6
        227      Empire Stock Transfer, Jammin Java
   7
                 Corp. Stock Transfer Package (Apr. 1,
   8
                 2011) (SEC Testimony Exhibit 93)
   9
        228      Empire Stock Transfer, Jammin Java
 10
                 Corp. Stock Transfer Package (Apr. 20,
 11
                 2011) (SEC-EMPIRESTOCK-00076)
 12
                 Empire Stock Transfer, Jammin Java
 13
        229      Corp. Stock Transfer Package (Apr. 8,
 14
                 2011)
 15
        230      Empire Stock Transfer, Jammin Java
 16
                 Corp. Stock Transfer Package (Mar. 1,
 17
                 2011) (SEC Testimony Exhibit 86)
 18
        231      Empire Stock Transfer, Jammin Java
 19
                 Corp. Stock Transfer Package (Mar. 14,
 20
                 2011) (SEC Testimony Exhibit 89) (SEC-
 21
                 EMPIRESTOCK-00258
 22
        232      Empire Stock Transfer, Jammin Java
 23
                 Corp. Stock Transfer Package (Mar. 14,
 24
                 2011) (SEC-EMPIRESTOCK-00281)
 25
                 Empire Stock Transfer, Jammin Java
 26
        233      Corp. Stock Transfer Package (Mar. 23,
 27
                 2011)
 28
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   1                     PLAINTIFF’S EXHIBITS
   2   No. of                                                  Date       Date
       Exhibit   Description                                   Identified Admitted
   3
        234      Empire Stock Transfer, Jammin Java
   4
                 Corp. Stock Transfer Package (Mar. 25,
   5
                 2011) (SEC Testimony Exhibit 91)
   6
        235      Empire Stock Transfer, Jammin Java
   7
                 Corp. Stock Transfer Package (Mar. 28,
   8
                 2011) (SEC Testimony Exhibit 92)
   9
                 Empire Stock Transfer, Jammin Java
 10
        236      Corp. Stock Transfer Package (Mar. 29,
 11
                 2011)
 12
        237      Empire Stock Transfer, Jammin Java
 13
                 Corp. Stock Transfer Package (Mar. 4,
 14
                 2011) (SEC Testimony Exhibit 88) (SEC-
 15
                 EMPIRESTOCK-00314)
 16
        238      Empire Stock Transfer, Jammin Java
 17
                 Corp. Stock Transfer Package (Mar. 8,
 18
                 2011) (SEC-EMPIRESTOCK-00297)
 19
        239      Empire Stock Transfer, Jammin Java
 20
                 Corp. Stock Transfer Package (May 13,
 21
                 2011) (SEC Testimony Exhibit 97) (SEC-
 22
                 EMPIRESTOCK-01600)
 23
        240      Empire Stock Transfer, Jammin Java
 24
                 Corp. Stock Transfer Package (May 5,
 25
                 2011) (SEC-EMPIRESTOCK-00039)
 26
 27
 28
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   1                       PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
        241      Empire Stock Transfer, Jammin Java
   4
                 Corp. Transaction Journal (Jun. 21, 2011)
   5
                 (SEC Testimony Exhibit 66)
   6
                 Exhibits to Declaration of R. Kevin
   7    242
                 Barrett
   8
        243      Finter Bank Zurich, Account and
   9
                 Securities Deposit Agreement for Cilitz
 10
                 Invest and Trade S.A. (Feb. 11, 2010)
 11
                 (FINMA-0000368)
 12
        244      Finter Bank Zurich, Application for
 13
                 opening an account for Luminus Real
 14
                 Estate Inc. (Feb. 6, 2008) (FINMA-
 15
                 0000150)
 16
        245      Finter Bank Zurich, Application for the
 17
                 Opening of a Securities Account for
 18
                 Donnolis Invest Corp. (FINMA-0000453)
 19
                 Global Elec. Recovery Corp., Annual
 20     246
                 Report (Form 10-KSB) (Jun. 1, 2007)
 21
        247      In the Matter of Jammin' Java Corp., File
 22
                 No. C-07826, Testimony of Ahn Tien
 23
                 Tran (Nov. 20, 2013)
 24
        248      In the Matter of Jammin' Java Corp., File
 25
                 No. C-07826, Testimony of Patrick R.
 26
                 Mokros (Feb. 12, 2015)
 27
 28
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
                 Jammin Java Corp., Annual Report (Form
   4    249
                 10-K) (May 17, 2010)
   5
                 Jammin Java Corp., Annual Report (Form
   6    250
                 10-K) (May 17, 2011)
   7
                 Jammin Java Corp., Current Report (Form
   8    251
                 8-K) (Jan. 5, 2011)
   9
                 Letter from S. Whittle (Tyrone
 10
        252      Investments) to Glynn Fisher (Nov. 16,
 11
                 2010) (SEC-SMV-P-0000155)
 12
                 Jammin Java Corp., Current Report (Form
 13     253
                 8-K) (Jan. 5, 2011)
 14
                 Jammin Java Corp., Amended Quarterly
 15
        254      Report (Form 10-Q/A) (Sept. 29,
 16
                 2011).pdf
 17
                 Jammin Java Corp., Amended Quarterly
 18     255
                 Report (Form 10-Q/A) (Jun. 24, 2011).pdf
 19
                 Jammin Java Corp., Quarterly Report
 20     256
                 (Form 10-Q) (Dec. 20, 2010).pdf
 21
                 Jammin Java Corp., Quarterly Report
 22     257
                 (Form 10-Q) (Sep. 20, 2010).pdf
 23
                 Jammin Java Corp., Quarterly Report
 24     258
                 (Form 10-Q) (Jul. 15, 2010)
 25
                 Jammin Java Corp., Quarterly Report
 26     259
                 (Form 10-Q) (Dec. 14, 2009).pdf
 27
 28
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
                 Jammin Java Corp., Quarterly Report
   4    260
                 (Form 10-Q) (Sept. 21, 2009)
   5
                 Marley Coffee Inc., Quarterly Report
   6    261
                 (Form 10Q) (Jun. 12, 2009).pdf
   7
                 Marley Coffee Inc., Quarterly Report
   8    262
                 (Form 10Q) (Dec. 15, 2008).pdf
   9
                 Marley Coffee Inc., Quarterly Report
 10     263
                 (Form 10Q) (Sep. 15, 2008).pdf
 11
                 Marley Coffee Inc., Quarterly Report
 12     264
                 (Form 10-Q) (Jun. 19, 2008)
 13
                 Marley Coffee, Inc., Annual Report (Form
 14     265
                 10KSB) (May 14, 2008)
 15
                 Marley Coffee Inc., Annual Report (Form
 16     266
                 10-K) (May 15, 2009)
 17
        267      Notice of Videotaped Deposition to
 18
                 Wayne S.P. Weaver (Jun. 7, 2016)
 19
        268      Press Release, Jammin Java Corp. - Enters
 20
                 Into $2,500,000 Financing, Market News
 21
                 Publishing
 22
        269      Records Relied on By K. Barrett
 23
        270      Republic of Panama Consulta de
 24
                 Mercantil, Corporate Registration for
 25
                 Rahela International Inc. (Mar. 19, 2012)
 26
                 (SEC-SMV-P-0000462)
 27
 28
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   1                       PLAINTIFF’S EXHIBITS
   2   No. of                                                      Date       Date
       Exhibit   Description                                       Identified Admitted
   3
        271      Republic of Panama, Certificate of
   4
                 Constitution of Luminus Real Estate Inc.
   5
                 (Nov. 19, 2007) (FINMA-0000168)
   6
                 Republic of Panama, Public Registry page
   7
        272      for Monolsa Real Estate, Inc. (FINMA-
   8
                 0000016)
   9
        273      Republic of Panama, Public registry page
 10
                 for Nemo Development S.A. (Apr. 2,
 11
                 2012) (
 12
                 Seven Points Capital, Statement of
 13     274
                 Account (Apr. 2011)
 14
        275      Share Issuance Agreement between
 15
                 Jammin' Java Corp. and Straight Path
 16
                 Capital (Dec. 22, 2011) (Exhibit B to Tran
 17
                 Declaration) (SEC-EMPIRESTOCK-
 18
                 10607)
 19
                 Spartan Securities Group, Statements of
 20     276
                 Account for Mar. 2011 and Apr. 2011
 21
        277      Verdmont Capital, Account Statements for
 22
                 Rahela Int'l, Inc. (Sept. 29, 2010 - Oct. 24,
 23
                 2012) (SEC-SMV-P-0000420)
 24
        278      Verdmont Capital, Account Statements for
 25
                 Tyrone Investments (Nov. 15, 2007 - Jul.
 26
                 30, 2013) (SEC-SMV-P-0000143)
 27
 28
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
                 Email from Verdmont Capital to Alicia
   4
        279      Quezada (Feb. 22, 2011) (SEC-SMV-P-
   5
                 0000151)
   6
        280      Sun Dep. (Jan. 26, 2017) (
   7
        281      U.S. Dollar Business Premium Account
   8
                 Statements for Blue Leaf Capital Limited
   9
                 (Jan. 31, 2011, Feb. 28, 2011, and Mar.
 10
                 31, 2011) (SEC-FCA-E-0000319)
 11
                 Tyrone Share Certificate No. 1 (Sept. 12,
 12     282
                 2007) (SEC-SMV-P-0000402)
 13
                 Verdmont Capital Investment Account
 14
        283      Application for Tyrone Investment, Inc.
 15
                 (SEC-SMV-P-0000314)
 16
                 Verdmont Capital KYC Form for Kevin
 17
        284      Miller (Nov. 20, 2007) (SEC-SMV-P-
 18
                 0000517)
 19
                 Verdmont Capital, Account Opening
 20
        285      Documents for Timotei (SEC-SMV-P-
 21
                 0000200)
 22
        286      Verdmont Capital, Corporate Account
 23
                 Form for Rahela International Inc. (Sept.
 24
                 24, 2010) (SEC-SMV-P-0000426)
 25
        287      Wheatley Dep. (Jan. 24, 2017)
 26
 27
 28
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
        288      Email from Al-Barwani to Weaver re AW:
   4
                 Renavial a/c (Dec. 21, 2011) (AL-
   5
                 BARWANI_00000562)
   6
        289      Email from Al-Barwani to Sun re Offshore
   7
                 company and bank accounts
   8
                 documentation (Sept. 19, 2010) (AL-
   9
                 BARWANI_00000543)
 10
        290      Consulta De Mercantil, Panama, Registry
 11
                 Page for Timotei Overseas, Inc. (Apr. 25,
 12
                 2012) (SEC-SMV-P-0000260)
 13
                 Share Purchase Agreement Between Cilitz
 14     291
                 and Timotei (Wheatley 0359)
 15
        292      Share Purchase Agreement Between
 16
                 James Philip Scott and Renavial Ltd.
 17
                 (Mar. 29, 2011) (AL-
 18
                 BARWANI_00000136)
 19
        293      Share Purchase Agreements Between
 20
                 James Philip Scott and Las Colinas Ltd.,
 21
                 Between Waheed Kara and Las Colinas
 22
                 Ltd., Between Nasim Kara and Las
 23
                 Colinas Ltd., Between Nasim Kara and
 24
                 Las Colinas Ltd. (Mar. 29, 2011)
 25
                 (FINMA-0000268)
 26
 27
 28
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
        294      Share Purchase Agreement between
   4
                 Rahela and Renavial (AL-
   5
                 BARWANI_00000741)
   6
        295      Answer of Defendant Rene Berlinger to
   7
                 Amended Complaint (Aug. 31, 2016)
   8
                 (Dkt. #138)
   9
                 Email from Lacher to Gallus and Berlinger
 10
        296      re Wire from Las C (Jun. 2, 2011)
 11
                 (BER00002358)
 12
                 Email among Housser, Batista and Fisher
 13
        297      (Verdmont) re Rahela (May 24, 2012)
 14
                 (SEC-SMV-P-0000267)
 15
                 Email from Drayton to S. Simoes re 18911
 16     298
                 (Jun. 24, 2011) (SEC-FINMA-P-0000666)
 17
                 Email from Drayton to G. Maeder (Mar.
 18     299
                 22, 2012) (SEC-FINMA-P-0000665)
 19
                 Email from Weaver to Berlinger re
 20     300
                 Address (Jul. 1, 2011)
 21
                 Email from Weaver to Berlinger and
 22
        301      Caputo FW: Manitou-Torino-Donnolis-
 23
                 Arcis (Apr. 8, 2015)
 24
                 Email from Weaver to Berlinger FW:
 25     302
                 Torino (Jan. 21, 2011)
 26
 27
 28
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   1                    PLAINTIFF’S EXHIBITS
   2   No. of                                                   Date       Date
       Exhibit   Description                                    Identified Admitted
   3
                 Declaration of Vertical Group Certifying
   4
        303      Records of Regularly Conducted Business
   5
                 Activity (May 9, 2017)
   6
                 Declaration of UBS Securities Certifying
   7
        304      Records of Regularly Conducted Business
   8
                 Activity (May 19, 2017)
   9
 10
 11
 12
                 DEFENDANT WEAVER’S EXHIBITS
 13
       No. of                                                   Date          Date
 14
       Exhibit   Description                                    Identified Admitted
 15
          1      Incorporation Documents for Petersham
 16
                 Enterprises Limited (Dep. Ex. 1)
 17
          3      Email from Andrew Golding to Stephen
 18
                 Wheatley dated 9/21/2010 (Dep. Ex. 3)
 19
          7      B&C Capital Inc. Portfolio Asset
 20
                 Summary for Petersham Enterprises as of
 21
                 12/31/2010 (Dep. Ex. 7)
 22
          9      B&C Capital Inc. Portfolio Asset
 23
                 Summary for Petersham Enterprises as of
 24
                 3/23/2011 (Dep. Ex. 9)
 25
         12      B&C Capital Inc. Portfolio Asset
 26
                 Summary for Petersham Enterprises as of
 27
                 7/31/2011 (Dep. Ex. 12)
 28
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   1             DEFENDANT WEAVER’S EXHIBITS
   2   No. of                                                   Date          Date
   3   Exhibit   Description                                    Identified Admitted
   4     20      Cooperation Agreement between Stephen
   5             Wheatley and the Division of Enforcement
   6             of the United States Securities and
   7             Exchange Commission dated 9/4/2014
   8             (Wheatley Dep. Ex. 20)
   9     22      Letter from the Law Offices of Roger L.
 10              Fidler to Paul M.G. Helms of the United
 11              States Securities and Exchange
 12              Commission dated 5/2/2014 (Wheatley
 13              Dep. Ex. 22)
 14      32      VP Bank Account Documents for Torino
 15              Invest S.R.L. dated 10/1/2010 (Dep. Ex.
 16              32)
 17      33      VP Bank Know Your Customer
 18              Documents for Westpark Limited (Dep.
 19              Ex. 33)
 20      35      Email from Wayne Weaver to Michael
 21              Sun dated 10/13/2010 (Dep. Ex. 35)
 22      37      Email from Michael Sun to
 23              Urs@ehpinvest.ch dated 11/4/2010 (Dep.
 24              Ex. 37)
 25      40      Email from Michael Sun to Wayne
 26              Weaver dated 1/21/2011 (Dep. Ex. 40)
 27      41      Email from Michael Sun to Wayne
 28
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   1             DEFENDANT WEAVER’S EXHIBITS
   2   No. of                                                   Date          Date
   3   Exhibit   Description                                    Identified Admitted
   4             Weaver dated 1/23/2010 (Dep. Ex. 41)
   5     48      Notice of Termination “Limited Power of
   6             Attorney for External Asset Manager” in
   7             favour of volante advisory ag dated
   8             11/20/2012 (Dep. Ex. 48)
   9     76      VP Bank Form Feststellung des
 10              wirtschaftlich Berechtigten for Renavial
 11              Ltd. dated 9/21/2010 (Dep. Ex. 76)
 12      77      VP Bank Form Declaration of identity of
 13              beneficial owner dated 8/26/2011 (Dep.
 14              Ex. 77)
 15      78      Las Colinas Corporate Documents
 16              (Berlinger Dep. Ex. 78)
 17      80      Las Colinas VP Bank Asset Statement as
 18              of 12/31/2010 (Berlinger Dep. Ex. 80)
 19      83      Chilli Capital Corporate Documents and
 20              VP Bank Account Documents for Chilli
 21              Capital Ltd. (Berlinger Dep. Ex. 83)
 22      84      VP Bank Account Statement for Chilli
 23              Capital Ltd. (Berlinger Dep. Ex. 84)
 24      87      Westpark Ltd. Corporate Documents and
 25              VP Bank Account Documents for
 26              Westpark Ltd. (Berlinger Dep. Ex. 87)
 27      89      VP Bank Asset Statements for Westpark
 28
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                                   JOINT TRIAL EXHIBIT LIST
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   1             DEFENDANT WEAVER’S EXHIBITS
   2   No. of                                                   Date          Date
   3   Exhibit   Description                                    Identified Admitted
   4             Limited (Berlinger Dep. Ex. 89)
   5     92      VP Bank Account Documents for
   6             Renavial Ltd. (Berlinger Dep. Ex. 92)
   7     96      VP Bank Asset Statements for Renavial
   8             Ltd. (Berlinger Dep. Ex. 96)
   9    100      Chart Created by Rene Berlinger
 10              (Berlinger Dep. Ex. 100)
 11     116      Email from Kevin Miller to Rene
 12              Berlinger dated 3/16/2012 (Berlinger Dep.
 13              Ex. 116)
 14     117      Email from Kevin Miller to Rene
 15              Berlinger dated 5/7/2012 (Berlinger Dep.
 16              Ex. 117)
 17     119      Email from Kevin Miller to Rene
 18              Berlinger dated 8/29/2012 (Berlinger Dep.
 19              Ex. 119)
 20     501      Share Issuance Agreement Between
 21              Straight Path Capital and Jammin’ Java
 22              Corp. dated 12/22/2010 (Dkt. # 175-3, Ex.
 23              B.; Investigative Ex. JAMN 40)
 24     502      Press Release: “Jammin Java Corp. –
 25              Enters Into $2,500,000 Financing” dated
 26              12/23/2010 (Dkt. # 175-23)
 27     503      Form 8-K Current Report of Jammin’ Java
 28
                                                              Case No. 2:15-cv-08921 SVW (MRWx)
                                   JOINT TRIAL EXHIBIT LIST
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   1             DEFENDANT WEAVER’S EXHIBITS
   2   No. of                                                   Date          Date
   3   Exhibit   Description                                    Identified Admitted
   4             Corp. dated 12/22/2010 (Dkt. # 175-24)
   5    504      Marshall Islands Certificate of
   6             Incorporation of Renavial Ltd. dated
   7             9/14/10 (AL-BARWANI_00000023-24)
   8    505      Consent of Incorporator of Renavial Ltd.
   9             dated 9/14/10 (AL-
 10              BARWANI_00000025-26)
 11     506      Articles of Incorporation of Renavial Ltd.
 12              dated 9/14/10 (AL-
 13              BARWANI_00000027-32)
 14     507      Renavial Ltd. Bylaws dated 9/14/10 (AL-
 15              BARWANI_00000034-42)
 16     508      Fax Transmission from René Berlinger to
 17              Daniel Locher dated 5/30/11 (AL-
 18              BARWANI_00000058)
 19     509      VP Bank Account Statement dated 4/1/12-
 20              6/30/12 (AL-BARWANI_00000100)
 21     510      VP Bank Debit Advice confirming
 22              transaction dated 5/25/12 (AL-
 23              BARWANI_00000102)
 24     511      Fax Transmission from René Berlinger to
 25              Bruno Achermann dated 5/24/12 (AL-
 26              BARWANI_00000103-104)
 27     512      Feststelfung des wirtschaftlich
 28
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   1             DEFENDANT WEAVER’S EXHIBITS
   2   No. of                                                    Date          Date
   3   Exhibit   Description                                     Identified Admitted
   4             Berechtigten dated 9/21/10 (AL-
   5             BARWANI_00000213)
   6    513      Notice of termination “Limited Power of
   7             Attorney for External Asset Managers”
   8             dated 11/20/12 (AL-
   9             BARWANI_00000229)
 10     514      VP Legally Binding Signatures for Legal
 11              Entities dated 1/10/12 (AL-
 12              BARWANI_00000230-233)
 13     515      Declaration of identity of the beneficial
 14              owner dated 9/21/10 (AL-
 15              BARWANI_00000234-35)
 16     516      Email from D. Lacher to Victor dated
 17              11/17/11 (AL-BARWANI_00000515)
 18     517      Fax Transmission from René Berlinger to
 19              D. Lacher dated 7/14/11 (AL-
 20              BARWANI_00000519-20)
 21     518      Redacted pages Funds Received for your
 22              Account (Me and You from Wayne) (AL-
 23              BARWANI_00000658-661)
 24     519      Worldcheck re Berlinger – Raymond Hall
 25              dated 11/17/15 (BER00001358)
 26     520      Certificate of Incumbency of Straight Path
 27              Capital dated 5/20/11 (BER00002300-
 28
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                                    JOINT TRIAL EXHIBIT LIST
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   1             DEFENDANT WEAVER’S EXHIBITS
   2   No. of                                                   Date          Date
   3   Exhibit   Description                                    Identified Admitted
   4             2304)
   5    521      Jammin Java Corp. stock owned by
   6             Straight Path Capital dated 6/8/11
   7             (BER00002305-06)
   8    522      Straight Path Corporate Documents
   9             (BER00003132-3163)
 10     523      Email from S. Wheatley to R. Bateman
 11              dated 7/13/12 (pgs. 0231-32 Wheatley
 12              Prod.)
 13     524      Email from M. Al-Barwani to M. Sun
 14              dated 9/19/10 (AL-
 15              BARWANI_00000543)
 16     525      Email from M. Al-Barwani to M. Sun
 17              dated 9/15/10 (AL-
 18              BARWANI_00000550)
 19     526      Email from M. Al-Barwani to M. Sun
 20              dated 11/17/11 (AL-
 21              BARWANI_00000648)
 22     527      Email from M. Al-Barwani to M. Sun
 23              dated 5/24/12 (AL-
 24              BARWANI_00000674)
 25     528      Email from M. Al-Barwani to M. Sun
 26              dated 6/19/12 (AL-
 27              BARWANI_00000677)
 28
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   1             DEFENDANT WEAVER’S EXHIBITS
   2   No. of                                                    Date          Date
   3   Exhibit   Description                                     Identified Admitted
   4    529      Email from W. Weaver to ACM Services
   5             GmbH dated 9/21/13 (BER00000034)
   6    530      Email from Kev@millzee.com to R.
   7             Berlinger dated 8/29/12 (BER00000067)
   8    531      Email from W. Weaver to R. Berlinger
   9             dated 9/11/11 (BER00000120)
 10     532      Email from R. Berlinger to
 11              Kev@millzee.com dated 8/29/12
 12              (BER00002518)
 13     533      Stockwatch News Release dated 5/6/11
 14              (BER00002771)
 15     534      Email from A. Golding to S. Wheatley
 16              dated 1/17/11 (pgs. 0074-77 Wheatley
 17              Prod.)
 18     535      VP Bank Account Documents for
 19              Westpark Limited dated 8/30/10
 20              (SUN_PROD_0000071-74)
 21     536
                 Certificate of Foreign Status of Beneficial
 22
                 Owner for United States Tax Withholding
 23
                 For Westpark Limited dated 6/30/10
 24
                 (SUN_PROD_0000084)
 25
 26     537      Corporate Documents for Westpark

 27              Limited (SUN_PROD_0000110-130)

 28     538      Notice of Termination “Limited Power of

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   1             DEFENDANT WEAVER’S EXHIBITS
   2   No. of                                                    Date          Date
   3   Exhibit   Description                                     Identified Admitted
   4             Attorney for External Asset Managers”
   5             from Michael K. Sun to Rene Berlinger
   6             dated 11/20/2012
   7             (SUN_PROD_00000137)
   8    539      VP Bank Establishment of Beneficial
   9             Owner’s Identity for Westpark Limited
 10              dated 9/14/2010 (SUN_PROD_00000173)
 11     540      Email from Rene Berlinger to Michael
 12              Sun copying Daniel Lacher dated
 13              12/21/2011 (SUN_PROD_0000460)
 14     541      Email from Wayne Weaver to Michael
 15              Sun dated 9/30/2010 (pgs. 0523 Wheatley
 16              Prod.)
 17     542      Email from Wayne Weaver to Michael K.
 18              Sun dated 10/13/2010 (pgs. 0527
 19              Wheatley Prod.)
 20     543      Email from Wayne Weaver to Michael K.
 21              Sun dated 9/13/2010 (pgs. 0607 –
 22              Wheatley Prod.)
 23     544      Email from Wayne Weaver to Michael K.
 24              Sun dated 9/30/2010 (pg. 0625 Wheatley
 25              Prod.)
 26
 27
 28
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   1 DATED: May 30, 2017              SECURITIES AND EXCHANGE
                                      COMMISSION
   2
                                      TIMOTHY S. LEIMAN
   3                                  DANIEL J. HAYES
                                      PETER SENECHALLE
   4
   5
                                      By: /s/ Peter Senechalle
   6
                                          Peter Senechalle
   7
   8
   9
 10
                                      SCHEPER KIM & HARRIS LLP
 11                                   MARC S. HARRIS
                                      MARGARET E. DAYTON
 12
 13
 14
                                      By: /s/ Margaret E. Dayton
 15                                       Margaret E. Dayton
 16                                       Attorneys for Defendant Wayne Weaver

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